              Case 2:15-cv-07728-PSG-PLA Document 10-1 Filed 05/19/15 Page 1 of 1 Page ID #:100



                           1                                      PROOF OF SERVICE
                           2
                                                             Erami v. JPMorgan Chase Bank
                           3                                Case No. 15-CV-00727-MCE-EFB

                           4         I, the undersigned, declare that I am employed in Marin County, State of California. I
                           5   am over the age of eighteen years and not a party to the within action. My business address is
                               100 Drakes Landing Road, Suite 275, Greenbrae, CA 94904.
                           6
                                     On May 19, 2015, I served on the interested parties in this action the within
                           7   document(s) entitled:
                           8
                                                            FIRST AMENDED COMPLAINT
                           9
                                 BY CM/ECF NOTICE OF ELECTRONIC FILING (F.R.C.P. rule 5(b)(E)): I caused
                          10      said document(s) to be transmitted by e-file with the Clerk of the Court by using the
                          11      CM/ECF system, which will send a Notice of Electronic Filing (NEF) to the address(es)
                                  listed below.
                          12
                                Carrie Anne Gonell
                          13    John D. Hayashi
                          14    Alexander L. Grodan
                                Morgan Lewis & Bockius, LLP
                          15    5 Park Plaza, Suite 1750
                                Irvine, CA 92614
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                                cgonell@morganlewis.com
                          18    jhayashi@morganlewis.com
                                agrodan@morganlewis.com
                          19
                          20      FEDERAL: I declare that I am employed in the office of a member of the bar of this
                                   Court at whose direction the service was made. I declare under penalty of perjury under
                          21       the laws of the United States of America that the foregoing is true and correct.
                          22
                                      Executed on May 19, 2015 at Greenbrae, California.
                          23
                                                                                      /s/Heidi A. Hall
                          24                                                                 Heidi Hall
                          25
                          26
                          27
                          28
WYNNE LAW FIRM
100 DRAKES LANDING ROAD                                                       1
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